Case 1:21-cv-05316-NRM-TAM            Document 45-1       Filed 12/02/22      Page 1 of 5 PageID #:
                                             1334



                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  MARVEL CHARACTERS, INC.,                            Case No.: 1:21-cv-05316-NM-TAM

                        Plaintiff,                    Hon. Nina Morrison

         v.                                           LOCAL RULE 56.1 STATEMENT OF
                                                      MATERIAL FACTS AS TO WHICH
  NANCI SOLO and ERIK COLAN,                          THERE IS NO GENUINE ISSUE TO BE
                                                      TRIED IN SUPPORT OF MOTION FOR
                        Defendants.                   SUMMARY JUDGMENT BY
                                                      PLAINTIFF AND COUNTERCLAIM-
                                                      DEFENDANT MARVEL
                                                      CHARACTERS, INC.


  NANCI SOLO and ERIK COLAN,

                        Counterclaimants,

         v.

  MARVEL CHARACTERS, INC. and DOES
  1-10, inclusive,

                 Counterclaim-Defendants.


         Pursuant to Rule 56.1 of the Local Rules of the United States District Court for the Eastern

  District of New York (the “Local Rules”), Plaintiff Marvel Characters, Inc. (“MCI”), by and

  through its undersigned counsel, respectfully submits the following statement of material facts as

  to which there is no genuine issue to be tried in support of its motion for summary judgment.

         1.      Gene Colan died in 2011. See December 2, 2022 Declaration of Molly M. Lens

  (“Lens Decl.”) Ex. 3 at 3 (Nanci Solo attesting that Colan died on June 23, 2011); Ex. 6 at 4-5

  (Solo’s admission that Colan died on or about June 23, 2011); Ex. 7 at 5 (Erik Colan’s identical

  admission); Ex. 8 at 13, 18, 24 (Nanci Solo and Erik Colan’s termination notices stating that

  “Eugene J. Colan died on June 23, 2011”); Ex. 9 at 27, 32, 38, 42 (same); Ex. 10 at 9 (same).
Case 1:21-cv-05316-NRM-TAM                Document 45-1       Filed 12/02/22     Page 2 of 5 PageID #:
                                                 1335



          2.      At the time of his death, Gene Colan was a domiciliary of the State of New

  York. See Lens Decl. Ex. 3 at 3 (Nanci Solo attesting that Colan was domiciled in Brooklyn, New

  York at the time of his death); Ex. 6 at 5 (Solo’s admission that Colan was a New York domiciliary

  at his time of death); Ex. 7 at 5 (Erik Colan’s identical admission).

          3.      Gene Colan had at least four children—Jill Kubicki, Valerie Waldman, Nanci Solo,

  and Erik Colan. See Lens Decl. Ex. 11 at 5, 12, 17, 21 (“alternate” termination notices stating that

  “[Gene Colan] is survived by his children, Nanci Solo and Erik Colan, biological grandchild,

  Rachel Waldman (the daughter of his deceased biological child, Valerie Waldman) and biological

  child, Jill Kubicki”); Ex. 3 at 4-5 (Solo attesting that Colan left behind four children “who would

  inherit his[] estate”: son Erik Colan and daughters Nanci Solo, Valerie Waldman, and Jill Kubicki);

  id. at 11-12 (Jill and Valerie’s notarized waivers as “child[ren]” of Gene Colan); Ex. 6 at 5 (Nanci

  Solo’s admission that she and her brother Erik Colan were both biological children of Gene Colan);

  Ex. 7 at 5-6 (Erik Colan’s mirror-image admission); Ex. 2 at 78:9-13 (Solo testifying that her father

  told her “there were two girls with his first wife”); id. at 79:16-80:4 (Solo testifying that she met

  her “half siblings” “a couple of times” and confirming their names as “Jill Kubicki and Valerie

  Waldman”); id. at 98:6-13 (Solo testifying that the beneficiaries in her father’s later-invalidated

  will included “[her] mother . . . , [her]self and [her] brother [Erik Colan] and then Valerie, her two

  children, . . . Jill[,] and [her] three children”).

          4.      Valerie Waldman is deceased but is survived by her daughter Rachel Waldman.

  See Lens Decl. Ex. 11 at 5, 12, 17, 21 (“alternate” termination notices describing Rachel as “the

  daughter of [Gene Colan’s] deceased biological child, Valerie Waldman”); Ex. 6 at 5-6 (Solo’s

  admission that Rachel Waldman is alive); Ex. 7 at 6 (Erik Colan’s identical admission).




                                                        -2-
Case 1:21-cv-05316-NRM-TAM              Document 45-1         Filed 12/02/22      Page 3 of 5 PageID #:
                                               1336



          5.      Jill Kubicki and Valerie Waldman’s mother is Sallee Greenberg, who was Gene

  Colan’s first wife. See Lens Decl. Ex. 12 (corrections to New York Times obituary of Gene Colan,

  clarifying that it had “misstated the name of the woman to whom he was previously married. She

  was Sallee Greenberg . . . . The obituary also omitted two surviving children from Mr. Colan's

  marriage to Ms. Greenberg, Valerie Waldman and Jill Kubicki . . . .”); Ex. 2 at 78:9-13 (Solo

  testifying that her father told her “there were two girls with his first wife”); id. at 79:16-80:4 (Solo

  testifying that she met her “half siblings” “a couple of times” and confirming their names as “Jill

  Kubicki and Valerie Waldman”); id. at 80:20-81:16 (Solo testifying that she understood from her

  father that “Sall[ee] remarried a man named Norman Bru[st] and that after that remarriage, [Gene]

  consented to have Norman adopt the children” and therefore he “was not able to see” Jill and

  Valerie); Ex. 1 at 4 (letter from Defendants’ counsel identifying the “two children, Valerie (now

  deceased) and Jill, Gene Colan had with his first wife, Salle [sic].”); Ex. 2 at 159:4-160:9 (Solo

  testifying that Defendants’ counsel’s representations to the court vis-à-vis Jill Kubicki and Valerie

  Waldman were based on “what [Solo] actually know[s]” and were not inaccurate); Ex. 4 at 4

  (excerpt from Secrets in the Shadows, produced by Nanci Solo and Erik Colan, stating that “Gene

  and Sallee indeed did marry . . . and before long they were the parents of two young girls, Valerie

  and Jill, born in 1954 and 1957 respectively”); see also Ex. 5 at 15:2-23 (Gene Colan praising

  Secrets in the Shadows as detailing “everything” about his life story).

          6.      After Gene and Sallee divorced, Sallee married Norman Brust. See Lens Decl. Ex.

  2 at 80:5-81:16 (Solo testifying that “Sall[ee] remarried a man named Norman Bru[st] . . .”); Ex.

  1 at 4 (letter from Defendants’ counsel stating that “[a]fter the couple’s divorce decades ago, Salle

  [sic] remarried Norman Brust . . .”); Ex. 2 at 159:4-160:9 (Solo testifying that Defendants’




                                                    -3-
Case 1:21-cv-05316-NRM-TAM            Document 45-1        Filed 12/02/22      Page 4 of 5 PageID #:
                                             1337



  counsel’s representations to the court vis-à-vis Sallee and Norman were based on “what [she]

  actually know[s]” and were not inaccurate).

         7.      While married to Sallee, Norman Brust, with Gene Colan’s consent, adopted Jill

  and Valerie. See Lens Decl. Ex. 2 at 80:20-81:16 (Solo testifying that “Sall[ee] remarried a man

  named Norman Bru[st] and that after that remarriage, [Gene] consented to have Norman adopt the

  children”); Ex. 1 at 4 (letter from Defendants’ counsel stating that “[a]fter the couple’s divorce

  decades ago, Salle [sic] remarried Norman Brust, who legally adopted Valerie and Jill in New

  York.”); Ex. 2 at 159:4-160:9 (Solo testifying that Defendants’ counsel’s representations to the

  court vis-à-vis Jill Kubicki and Valerie Waldman were based on “what [she] actually know[s]”

  and were not inaccurate).

         8.      The purported termination notices at issue in MCI’s September 24, 2021 complaint,

  Defendants’ December 15, 2021 counterclaim, and MCI’s April 1, 2022 supplemental complaint

  (collectively, the “Notices”) attempt to terminate the purported grants to certain illustrated comic

  book stories on which Gene Colan allegedly worked. See Lens Decl. Exs. 8-10 (as-filed pleadings

  with termination notices attached thereto).

         9.      The Notices were served on behalf of only Nanci Solo and Erik Colan; neither

  Rachel Waldman nor Jill Kubicki joined in these Notices. See Lens Decl. Exs. 8-10 (as-filed

  pleadings with termination notices attached thereto).




                                                  -4-
Case 1:21-cv-05316-NRM-TAM   Document 45-1   Filed 12/02/22     Page 5 of 5 PageID #:
                                    1338




  Dated: December 2, 2022             O’MELVENY & MYERS LLP



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